                                          United States Bankruptcy Court
                                            Northern District Of Ohio
                                           Notice of Filing Deficiency

    To: Aty. William J. Balena                                           Case Number: 19−12057−jps

    Debtor(s): Kimberly Gail Meyers                                      Judge: JESSICA E. PRICE SMITH

The items marked below are deficient and must be corrected by April 22, 2019, or this matter may be referred
to the Judge for further consideration.

   Adversary filing incomplete. Need          Cover Page/Worksheet           Request for Summons       See Comments.

   Affidavit needs:       notary seal/stamp/commission expiration              signature     county/state

   Attachments/Exhibits:          not filed      incorrect or not relevant to filing

   Attorney name block is missing, or does not include attorney's full name, firm, address, telephone number, and
   attorney registration number.

   Case:       closed     dismissed        transferred

   Certificate of Service indicating name, address of parties served, and the date of service was not filed.

   Certificate of Service − Chapter 13 Plan: Debtor failed to comply with Bankruptcy Rule 3012(b) and Local
   General Order 17−1, providing the debtor must serve creditor in the manner provided for service of a summons
   and complaint under Bankruptcy Rule 7004, as well as provide a certificate of service "that includes the date
   and method of service and the identity by name and address of each entity served, consistent with Local
   Bankruptcy Rule 9013−3."

   Document:        case# incorrect       caption incorrect       Judge incorrect

   ECF event used is incorrect.        Resubmit the document using the correct code. See the ECF Search Menu.

   Employee income records and/or proof of no income received 60 days preceding case filing were not filed.

   Fee due in the amount of $          Fee deleted by the filer. Resubmit the pleading and pay the fee.

   Form B121 required.

   Hearing:      notice not filed       time, date, and/or location are incorrect

   Installment Application:         dates incorrect      fee incorrect      exceeds 120 day limit

   Official Form B423 must be filed, or the case may be closed without the discharge order.

   Order Regarding:

   Petition:     incorrect Official Form        missing document(s):

   Petition for Unclaimed Funds does not comply with LBR 3011−1. Please reference the LBR for guidelines.

           Proof of deposit is not attached to the petition (e.g., copy of receipt and attached list of parties
           entitled to funds; unclaimed funds search web page; or other supporting documents).



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          Exhibit A is not attached       Full Tax ID/Social Security Number is not attached to Exhibit A

          incorrect identification

   Signature Declaration missing.

   Signature must be:       original      /S/ signature for     attorney   debtor    creditor

   Other Deficient Matter(s): See Comments/Instructions; Corrective Action Required.

Comments/Instructions
Employee Income Records Need To Be Filed Using Correct Event Code; Corrective Action Required. (RE: related
document(s)[3] Application to Pay Filing Fees in Installments)

Deputy Clerk: /s/ Cindy Illencik       Date: April 11, 2019

Form: ohnb140




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